Case 1:22-cv-00294-MHH-JHE Document 11-11 Filed 04/29/22 Page 1 of 4            FILED
                                                                       2022 Apr-29 PM 02:53
                                                                       U.S. DISTRICT COURT
                                                                           N.D. OF ALABAMA




             EXHIBIT 11
Case 1:22-cv-00294-MHH-JHE Document 11-11 Filed 04/29/22 Page 2 of 4
           Case 1:22-cv-00294-MHH-JHE Document 11-11 Filed 04/29/22 Page 3 of 4
  SERA4    542.22 *                   SENTENCE MONITORING              *          04-28-2022
PAGE 001           *                   GOOD TIME DATA                  *          12:34:55
                                       AS OF   04-28-2022


REGNO...: 28576-509         NAME: STEWART, ROBERT S JR
ARS 1...: CMY A-HC SENT                                                PLRA
COMPUTATION NUMBER..:     010                            FUNC..: DIS    ACT DT:
LAST UPDATED:    DATE.: 01-20-2022                       FACL..: DSC       CALC: AUTOMATIC
UNIT................:                                   QUARTERS............:
DATE COMP BEGINS....: 07-28-2021                        COMP STATUS.........: COMPLETE
TOTAL JAIL CREDIT...: 20                                TOTAL INOP TIME.....: 0
CURRENT REL DT......: 04-07-2023 FRI                    EXPIRES FULL TERM DT: 04-07-2023
PROJ SATISFACT DT...: 10-20-2022 THU                    PROJ SATISF METHOD..: FSA REL
ACTUAL SATISFACT DT.:                                   ACTUAL SATISF METHOD:
DAYS REMAINING......:                                   FINAL PUBLC LAW DAYS:
GED PART STATUS.....:                                   DEPORT ORDER DATED..:


---------------------------GOOD CONDUCT TIME AMOUNTS---------------------------


  START          STOP           MAX POSSIBLE TO       ACTUAL TOTALS     VESTED      VESTED
  DATE           DATE           DIS     FFT           DIS    FFT        AMOUNT       DATE
07-08-2021     07-07-2022       54


G0002          MORE PAGES TO FOLLOW . . .
          Case 1:22-cv-00294-MHH-JHE Document 11-11 Filed 04/29/22 Page 4 of 4
  SERA4   542.22 *                   SENTENCE MONITORING             *          04-28-2022
PAGE 002 OF 002 *                     GOOD TIME DATA                 *          12:34:55
                                      AS OF   04-28-2022


REGNO...: 28576-509        NAME: STEWART, ROBERT S JR
ARS 1...: CMY A-HC SENT                                              PLRA
COMPUTATION NUMBER..:    010                           FUNC..: DIS    ACT DT:
LAST UPDATED:   DATE.: 01-20-2022                      FACL..: DSC       CALC: AUTOMATIC


---------------------------GOOD CONDUCT TIME AMOUNTS---------------------------


  START         STOP           MAX POSSIBLE TO       ACTUAL TOTALS    VESTED      VESTED
  DATE          DATE           DIS     FFT           DIS   FFT        AMOUNT       DATE
07-08-2022    04-07-2023       40


    TOTAL EARNED AMOUNT..........................................:                  0
    TOTAL EARNED AND PROJECTED AMOUNT............................:                 94




G0005         TRANSACTION SUCCESSFULLY COMPLETED - CONTINUE PROCESSING IF DESIRED
